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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


                                                03 MDL 1570 (GBD)
In re Terrorist Attacks on September 11, 2001   ECF Case


This document applies to:

Federal Insurance Co., et al. v. Al Qaida, et al., Case No. 03-CV-06978
Vigilant Insurance Co., et al. v. Kingdom of Saudi Arabia, et al., Case No. 03-CV-08591
Pacific Employers Insurance, et al. v. Kingdom of Saudi Arabia, et al., Case No. 04-CV-7216
Thomas Burnett, Sr., et al. v. Al Baraka Inv. & Dev. Corp., et al., Case No. 03-CV-09849
Euro Brokers Inc., et al., v. Al Baraka, et al., Case No. 04-CV-7279
Kathleen Ashton, et al. v. Al Qaeda Islamic Army, et al., Case No. 02-CV-06977
Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, Case No. 04-CV-1922
Continental Casualty Co., et al. v. Al Qaeda, et al., Case No. 04-CV-5970
Cantor Fitzgerald & Co., et al. v. Akida Bank Private., Ltd., et al., Case No. 04-CV-7065

  PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR RELIEF OF THE
FINAL JUDGMENTS ENTERED IN FAVOR OF THE KINGDOM OF SAUDI ARABIA
  AND SAUDI HIGH COMMISSION FOR RELIEF OF BOSNIA & HERZEGOVINA
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       Plaintiffs submit this reply in support of their motion for relief, pursuant to Fed. R. Civ.

P. 60(b)(6), from final judgment entered in favor of defendants the Kingdom of Saudi Arabia and

Saudi High Commission for Relief of Bosnia & Herzegovina (“SHC”) in light of the Court of

Appeals’ recent decision, Doe v. Bin Laden, 663 F.3d 64 (2d Cir. 2011). Relief is appropriate

because Doe overruled the Second Circuit’s earlier holding that formed the basis for dismissing

plaintiffs’ claims against the Kingdom and SHC and would otherwise produce contradictory

results as to two identically-situated sovereign states in the same, ongoing litigation, and because

this case presents additional equitable factors favoring plaintiffs.

I.     NEITHER THE 9/11 COMMISSION NOR ANY OTHER SOURCE HAS
       EXONERATED THE KINGDOM.
       Defendants open their memorandum by claiming that the 9/11 Commission’s Report

exonerated the Kingdom from complicity in the September 11, 2001 attacks. Opp. 1. Even if

this were somehow relevant to the Rule 60(b) motion, it is clearly wrong. In addition to the

many other, authoritative sources that have implicated the Kingdom and its officials in

supporting the attacks, Senator Bob Kerrey, a member of the 9/11 Commission, makes clear in

his accompanying Affirmation to this Court that the Report did not exonerate the Kingdom.

Carter Aff. at Exh. 2 (“The Kingdom’s Memorandum of Law contains several misleading

statements concerning the investigation and findings of the 9/11 Commission relative to possible

Saudi culpability for the sponsorship of al Qaeda and the events of September 11, 2001 ….”); id.

(“significant questions remain unanswered concerning the possible involvement of Saudi

government institutions and actors”). Senator Bob Graham, a long-time member of the Senate

Select Committee on Intelligence and Co-Chair of the Congressional Joint Inquiry into 9/11

(“Joint Inquiry”) has also submitted an Affirmation. In it, he expresses his view, based on the

Joint Inquiry and other sources of information, “that there was a direct line between at least some

of the terrorists who carried out the September 11th attacks and the government of Saudi Arabia,

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and that a Saudi government agent living in the United States, Omar Bayoumi, provided direct

assistance to September 11th hijackers Nawaf al Hazmi and Khalid al Mihdhar.” Id. at Exh. 1;

see id. at Exh. 2, p. 4 (Sen. Kerrey). Senator Graham further states that “[a]nother issue

deserving of further attention and investigation concerns the involvement of Saudi based

charities in the provision of financial and other support to al Qaeda, and the precise character of

the relationships between those charities and the government of the Kingdom.” Id. at Exh. 1.

Defendants’ claim that plaintiffs’ theories have somehow been discredited are likewise rebutted

by plaintiffs’ pleadings, the evidence previously submitted of record, and the evidence submitted

in support of this Reply, including the identification of the SHC as a “terrorist support entity” in

the “Matrix of Threat Indicators” used by the U.S. military’s Joint Task Force at Guantanamo to

determine whether a detainee poses a terrorist threat. Id. at Exh. 3; see also id. at Exhs. 4-9.

II.     RULE 60(b)(6) RELIEF IS WARRANTED BECAUSE DOE OVERRULED THE
        VERY BASIS OF THE JUDGMENT IN THE SAME, ONGOING LITIGATION
        AND ADDITIONAL EQUITABLE FACTORS ARE PRESENT.
        Defendants rest their opposition on the assertion that “a mere change in decisional law”

does not alone warrant Rule 60(b)(6) relief, Opp. 10-17, but that point, even if accepted, does not

reflect the circumstances presented here, where several additional factors relevant to Rule

60(b)(6) relief are unquestionably present. There is, in addition, a direct overruling of the basis

for the district court’s decision, arising from and affecting the very same, continuing litigation

before this Court. That intervening act produced a result that, if uncorrected by a grant of Rule

60(b) relief, would treat like defendants (Afghanistan and the Saudi Kingdom) unequally and

would have plaintiffs pursue full recovery against only a subset of similarly situated defendants.

And, that result would arise where plaintiffs fully sought to protect their rights through appeal,

provided notice of the potential overruling, and promptly sought relief once the overruling in fact

occurred. These factors all make it appropriate for this Court to exercise its “broad discretion …


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to grant relief when appropriate to accomplish justice.” Matarese v. LeFevre, 801 F.2d 98, 106

(2d Cir. 1986) (internal quotation marks omitted).

       1.      Defendants greatly overstate and misapply the theory that a change in decisional

law cannot alone justify Rule 60(b)(6) relief. The Second Circuit has invoked the principle that

“a mere change in decisional law” is insufficient, Pichardo v. Ashcroft, 374 F.3d 46, 56 (2d Cir.

2004), where, for example, a party could have – but failed to – protect its rights by seeking

appellate review of an adverse decision. See, e.g., United Airlines, Inc. v. Brien, 588 F.3d 158,

176-77 (2d Cir. 2009); Travelers Indem. Co. v. Sarkisian, 794 F.2d 754, 757 & n.4 (2d Cir.

1986) (failure to seek certiorari). And, it has done so where a party points to simple legal error –

e.g., a federal court’s failure to predict subsequent state court rulings that affected an unrelated

“case that had been fully litigated and was long since closed.” See DeWeerth v. Baldinger, 38

F.3d 1266, 1272 (2d Cir. 1994). These results simply reflect hornbook law “that a Rule 60

motion ‘may not be used as a substitute for appeal’ and that a claim based on legal error alone is

‘inadequate.’” United Airlines, 588 F.3d at 176 (quoting Matarese, 801 F.2d at 107).

       But, the result is quite different where, as in this case, the claim is not “based on legal

error alone,” id., or on “a mere change in decisional law,” Pichardo, 374 F.3d at 56, but rather

rests as well on additional and compelling equitable factors. The Second Circuit and this Court

have made that point clear. See id. (additional factors, including “change in law goes to the very

basis” of judgment at issue); Sargent v. Columbia Forest Prods., Inc., 75 F.3d 86, 90-91 (2d Cir.

1996) (listing additional factors); Pasquino v. Lev Parkview Developers, LLC, No. 09-CV-4255,

2011 U.S. Dist. LEXIS 112460, at *16-17 (S.D.N.Y. Sept. 29, 2011) (granting relief where

earlier orders were “based exclusively on” an opinion that was “subsequently reversed”);1


1
 Pasquino’s Rule 60(b)(6) holding was not dictum, as defendants argue, Opp. 14-15, but
separate and independent of its earlier decision to also grant 60(b)(1) relief, 2011 U.S. Dist.
LEXIS 112460 at *17. Also, Pasquino did not predicate its decision to grant 60(b)(6) relief upon
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Devino v. Duncan, 215 F. Supp. 2d 414, 419 (S.D.N.Y. 2002) (granting relief based on “unique

circumstances presented by the intervening decision” and practical, procedural hurdles); see Tal

v. Miller, No. 97-CV-2275, 1999 U.S. Dist. LEXIS 652, at *5 (S.D.N.Y. Jan. 25, 1999). Other

circuits are in accord.2 These decisions simply reflect the portion of the governing Rule 60(b)(6)

principle that defendants ignore: that “courts have relied on an applicable change in decisional

law, coupled with some other special circumstance, in order to grant Rule 60(b)(6) relief.” Blue

Diamond Coal Co. v. Trs. of UMWA Combined Benefit Fund, 249 F.3d 519, 524 (6th Cir. 2001)

(collecting cases). This practice demonstrates the more general equitable principles that underlie

Rule 60(b)(6), where “a decision to reopen an action under Rule 60(b) will necessarily require

fact-intensive weighing of the equities in a particular case,” DeWeerth, 38 F.3d at 1271, and

where the Rule provides courts with a “grand reservoir of equitable power to do justice in a

particular case.” Pichardo, 374 F.3d at 55 (internal quotation marks and citation omitted).

       2.      To the limited extent that defendants indirectly address factors beyond the “mere”

change in decisional law, their arguments are without merit.

       For example, defendants fail to address the three relevant factors identified by the Second

Circuit in Sargent, but instead seek to distinguish the case on the ground that the decision

involved a motion to recall a mandate. See Opp. 15; Sargent, 75 F.3d at 89-91 (factors include

whether (i) the court was on notice of the pending case that altered the legal rule, (ii) “there was

not a substantial lapse of time between issuance of [the court’s] mandate and the present

motion,” and (iii) “the equities strongly favor [the movant]”). However, courts have rejected that

distinction, see Sargent, 75 F.3d at 89 (motion to recall a mandate is “analogous to the power



the fact that plaintiffs had not yet appealed, as defendants argue, Opp. 15. That fact was only
relevant to the 60(b)(1) holding. 2011 U.S. Dist. LEXIS 112460 at *10-14.
2
  See Phelps v. Alameida, 569 F.3d 1120, 1140 (9th Cir. 2009); Jackson v. Sok, 65 F. App’x 46,
49 (6th Cir. 2003); Blue Diamond Coal, 249 F.3d at 524; Ritter v. Smith, 811 F.2d 1398, 1401
(11th Cir. 1987); Pierce v. Cook & Co., 518 F.2d 720, 723 (10th Cir. 1975).
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conferred on district courts by Fed. R. Civ. P. 60(b)”), and have instead relied upon some or all

of these factors when analyzing Rule 60(b)(6) motions.3

       Defendants unsuccessfully address one of these factors when they attempt to show that

this case, like DeWeerth, is one “that had been fully litigated and was long since closed.” 38

F.3d at 1272; Opp. 12. This case is, of course, far from concluded, and officials and alter-egos of

the Kingdom – and the Kingdom itself – remain enmeshed in the litigation. See Pl. Mem. 9.

Indeed, defendants urge affirmance on alternative grounds that, far from being fully litigated,

have either never been addressed by any court or have been rejected by implication by the

Second Circuit. See infra pp. 7-10. And, as to timing, the judgment with respect to the Kingdom

and, for certain plaintiffs, SHC was subject to appellate litigation until mid-2009 (not concluded

for six years, as defendants suggest, see Opp. 12), and defendants acknowledge that the Rule

54(b) order was entered with respect to the SHC in July 2011. See id. Rule 60(b)(6) motions

have been freely granted within this same timeframe. Pl. Mem. 8. At base, defendants simply

appeal to an interest in finality which, in addressing a Rule 60(b) motion, is “unpersuasive in the

interpretation of a provision whose whole purpose is to make an exception to finality.” Gonzalez

v. Crosby, 545 U.S. 524, 529 (2005).

       Nor are defendants any more successful in addressing how Doe’s overruling of the basis

for the orders at issue arose from the same, continuing litigation. Most importantly, defendants

simply do not address the equitable implications of having equally positioned defendants treated



3
 Tirado v. Senkowski, No. 01-CV-6099, 2011 U.S. Dist. LEXIS 62529, at *3-4 (W.D.N.Y. June
10, 2011); Milgram v. Orthopedic Assocs. of 65 Pa. Ave., No. 02-CV-0255, 2010 U.S. Dist.
LEXIS 80454, at *5-6 (N.D.N.Y Aug. 9, 2010), aff’d, 662 F.3d 187 (2d Cir. 2011); Empresa
Cubana Del Tabaco v. Culbro Corp., 587 F. Supp. 2d 622, 627 (S.D.N.Y. 2008), rev’d on other
grounds, 385 F. App’x 29, 33 (2d Cir. 2010); Scott v. Gardner, 344 F. Supp. 2d 421, 426
(S.D.N.Y. 2004); United States v. Enigwe, 320 F. Supp. 2d 301, 308-09 (E.D. Pa. 2004);
Figueroa v. Fischer, No. 99-CV-2392, 2003 U.S. Dist. LEXIS 4993, at *20-21 (S.D.N.Y. Mar.
31, 2003); Devino, 215 F. Supp. 2d at 418; Tal, 1999 U.S. Dist. LEXIS 652, at *5-6.
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differently, the same plaintiffs forced to direct their recovery only against a subset of defendants,

and the hardship arising for parties who have pursued appellate relief. Instead, defendants

briefly claim that United Airlines in some manner resolved this issue, Opp. 15-16, but that

decision did no such thing. Defendants rely on the unexceptional statement in United Airlines

that a mere conflict of two district court decisions is, “by itself,” insufficient to support Rule

60(b) relief, id. at 15, but omit the decision’s context and its treatment of additional, relevant

factors. The decision addressed two divergent district court orders issued in separate but related

cases, where the defendant agency, having decided to settle rather than appeal one order, sought

Rule 60(b)(6) relief from that order after the district court issued the other, conflicting order.

United Airlines, 588 F.3d at 164-69, 176-77. The Second Circuit simply concluded that,

especially where the defendant could alter its own regulations to avoid any hardship arising from

divergent orders, it had not shown grounds “to justify reopening a closed case in which the

agency voluntarily stipulated to dismiss its appeal.” Id. at 177. This hardly states the general

rule that defendants claim, and indeed the decision elsewhere indicates that Rule 60(b)(6) may

well be appropriate “where two cases arising out of the same transaction result in conflicting

judgments.” Batts v. Tow-Motor Forklift Co., 66 F. 3d 743, 748 n.6 (5th Cir. 1995); see United

Airlines, 588 F.3d at 175 (quoting Batts, 66 F.3d at 748 n.6).

       Defendants do acknowledge that various courts have relied on the implications of

different decisions arising from the same transaction or occurrence, but suggest that the

compelling fact is those cases involved the same defendant. Opp. 16. This observation is a

truism to the extent that the defendant is the party seeking Rule 60(b)(6) relief (and is no

different from the common plaintiffs seeking Rule 60(b)(6) relief here), and is further flawed

because decisions emphasizing how cases arise from the same transaction do not base their

conclusions on the defendants’ status. See, e.g., Pierce, 518 F.2d at 723 (relief appropriate



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because judgment “ar[o]s[e] out of the same accident as that in which the plaintiffs now before

us were injured” rather than where “the decisional change came in an unrelated case”); First Am.

Nat’l Bank v. Bonded Elevator, 111 F.R.D. 74, 75 (W.D. Ky. 1986) (quoting Pierce, 518 F.2d at

723, regarding the “‘same transaction or occurrence’”). Similarly, two other cases cited by

defendants do not rely upon the presence of the same defendant as a factor in granting relief. See

Gondeck v. Pan Am. World Airways, Inc., 382 U.S. 25, 27 (1965) (granting petition because

petitioner was only victim not to recover from a car accident); Norman v. Nichiro Gyogyo

Kaisha, Ltd., 761 P.2d 713, 717 (Alaska 1988) (granting relief from a final judgment because

petitioner should have been able to recover while the other victim of the car accident recovered).

More fundamentally, defendants ignore that this case involves an even closer relationship

between the order and the source of changed law than presented in other cases granting Rule

60(b)(6) relief: the underlying case is ongoing, not “closed for many years” as defendants

misleadingly claim, Opp. 13, and the differentially affected plaintiffs and defendants are all part

of the same multi-district litigation, undertaken in a common proceeding before a single judge –

and thus in both respects much more directly implicate the equitable considerations that justify

Rule 60(b)(6) relief.

         3.    Finally, defendants err in claiming that interests related to sovereign immunity

weigh against Rule 60(b)(6) relief. Opp. 13. Doe eliminated the basis for this argument when it

overruled a finding of such an immunity interest and determined that 28 U.S.C. § 1605(a)(5), an

exception to immunity, in fact supports claims against sovereigns arising from the 9/11 attacks

and related discovery to finally resolve the scope of immunity. 663 F.3d at 70. The Kingdom

and SHC are, for this purpose, no different than Afghanistan.

III.     THE ALTERNATIVE GROUNDS ASSERTED BY DEFENDANTS PROVIDE NO
         BASIS FOR DENYING RULE 60(B)(6) RELIEF AND WERE REJECTED BY
         DOE.


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       Defendants’ arguments that Rule 60(b) relief should be denied despite Doe and other

equitable considerations, simply because defendants have advanced alternative theories for

dismissal on the merits, are deeply misplaced in several respects. Those alternative grounds did

not form the basis of the judgment from which relief is sought (set out in Terrorist Attacks III)

and therefore are wholly irrelevant to the question presently before the Court. Rule 60(b) relief

would not foreclose defendants from raising those arguments, but would merely ensure that the

issues would be fully briefed and that any decision on the merits would be subject to appeal.

Even if defendants’ view of the law were correct, the proper course would be to rejoin them to

the case so they could demonstrate that fact.

       Moreover, defendants simply err in claiming that Doe left undisturbed their alternative

theories of dismissal. In fact, Doe comprehensively analyzed how the tort exception applied to

claims arising from the 9/11 attacks and repudiated all of defendants’ alternative arguments for

dismissal on the pleadings.

       1.      The Sponsorship Of Al Qaeda Is Not A Discretionary Function. Doe directly

rejects the notion that the discretionary function clause can foreclose at the pleading stage a

claim against a foreign state for injuries arising from the 9/11 attacks, based on the foreign

state’s material sponsorship of al Qaeda. Citing the allegations that Afghanistan provided

material support to al Qaeda and conspired with al Qaeda in furtherance of the 9/11 attacks,4 the

Second Circuit held that the plaintiffs adequately “alleged nondiscretionary acts by employees of

the foreign state” at the pleading stage. Doe, 663 F.3d at 67. Further, the decision held that

Congress had implicitly adopted the interpretations of the tort exception in Liu v. Republic of

China, 892 F.2d 1419 (9th Cir. 1989), and Letelier v. Republic of Chile, 488 F. Supp. 665


4
  The allegations of provision of support to terrorists in this case (not, as defendants would have
it, the “government’s decisions to support Islamic charities,” Opp. 18) are indistinguishable from
those at issue in Doe.
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(D.D.C. 1980), Doe, 663 F.3d at 69, a finding that necessarily repudiates defendants’

discretionary function theory, as those decisions make clear that a foreign state “has no

‘discretion’ to perpetrate conduct designed to result in the assassination of an individual or

individuals, action that is clearly contrary to the precepts of humanity as recognized in both

national and international law.” Letelier, 488 F. Supp. at 673; see also Liu, 892 F.2d at 1431.

Doe thus made clear that the discretionary function clause does not provide a basis to dismiss a

9/11 claim prior to discovery.

       2.      Doe Rejected Defendants’ “Entire Tort” Theory. Doe also necessarily rejected

defendants’ “entire tort” theory in finding that the claims in Doe, as pled, fit within the tort

exception. Doe observed that the unambiguous language of 1605(a)(5) requires merely that the

claims arise from an injury “‘that occur[red] in the United States,’” Doe, 663 F.3d at 66, and that

there was “no question” that the 9/11 claims against Afghanistan satisfied this locus requirement,

even though Afghanistan’s support for al Qaeda occurred exclusively outside of the U.S.5 Id. at

66-67. Further, Doe endorsed the interpretations of the tort exception in Liu and Letelier, id. at

69, both of which involved claims for extra-territorial conduct that produced injury in the United

States. See Liu, 892 F.2d at 1421-23; Letelier, 488 F. Supp. at 674. In all of these respects, Doe

plainly addressed and rejected defendants’ entire tort theory. And, even if that were not so,

defendants’ theory is in any event without merit – as Liu, Letelier, and the fact that the tort here

occurred in the United States all confirm.

       3.      Defendants’ Causation Argument Is Unsupportable. Doe likewise makes clear

that defendants’ novel theory of jurisdictional “causation” cannot support a dismissal of 9/11


5
 Defendants ignore that the tort that forms the basis of the claims against them – the 9/11 attacks
– did occur in the United States. In addition, they simply misread the language they cite from
Argentine Republic v. Amerada Hess shipping Corp., 488 U.S. 428, 441 (1989), and Cabiri v.
Government of Ghana, 165 F.3d 193, 200 n.3 (2d Cir. 1999), which does not support their
“entire tort” theory and is dicta in any case.
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claims arising from a foreign state’s sponsorship of al Qaeda, particularly at the pleading stage.

Again, Doe found that there was “no question” that the injuries at issue were caused by a tortious

act – the 9/11 attacks – and that the allegations that Afghanistan conspired with al Qaeda

adequately pled a claim for FSIA purposes. Doe, 663 F.3d at 66-67. In so holding, the Second

Circuit was of course aware that the district court decision in Doe expressly acknowledged the

jurisdictional causation requirement of the tort exception, and it held that “although Afghanistan

was not one of the direct perpetrators of the attacks in the United States…[u]nder a theory of

civil conspiracy, the acts of one defendant may be imputed to another.” Doe v. Bin Laden, 580

F. Supp. 2d 93, 97-98 (D.D.C. 2008). Even had Doe not resolved the issue, defendants’

alternative theory is without merit. Consistent with Doe, other courts have found that there is no

“textual warrant” for the argument that the “caused by” language of the FSIA imposes a

restrictive causation standard as a jurisdictional requirement. Kilburn v. Socialist People’s

Libyan Arab Jamahiriya, 376 F.3d 1123, 1128 (D.C. Cir. 2004). The FSIA is a jurisdictional

statute, one “not intended to affect the substantive law determining the liability of a foreign

state.” First Nat’l Citi-Bank v. Banco Para el Comercio Exterior de Cuba, 462 U.S. 611, 620

(1983). Accordingly, “[j]urisdictional causation under [the FSIA] is distinct from the substantive

causation element of a claim,” Rux v. Sudan, 461 F.3d 461, 472 (4th Cir. 2006), and merely

requires a showing of “proximate cause” or “some reasonable connection between the act or

omission of the defendant and the damages which the plaintiff has suffered.” Kilburn, 376 F.3d

at 1128 (internal quotation marks omitted). “Any concerns about reaching too far to charge

foreign states with the attenuated impact of their … activities are better addressed as questions of

substantive law.” Id. at 1129 (citing 28 U.S.C. § 1606).

                                         CONCLUSION

       For the foregoing reasons, relief under Rule 60(b)(6) is warranted.



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Dated: February 24, 2012

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                                CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the Plaintiffs’ Reply Memorandum of Law in Support

of Their Motion for Relief of the Final Judgments Entered in Favor of the Kingdom of Saudi

Arabia and Saudi High Commission for Relief of Bosnia & Herzegovina was filed electronically

this 24th day of February 2012. Notice of this filing will be sent to all parties in 03 MDL 1570

by operation of the Southern District of New York’s Electronic Case Filing (“ECF”) system.

Parties may access this filing through the Court’s ECF system. In addition, copies of Plaintiffs’

Reply Memorandum of Law were sent via express U.S. mail to Michael K. Kellogg, Esq. and

Lawrence S. Robbins, Esq.




                                                     /s/
                                                     J. Scott Tarbutton




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